        Case
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


BRADLEY A. CHICOINE, D.C., DR. BRADLEY
A. CHICOINE, D.C., P.C., MARK A. NILES,
D.C, NILES CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF, D.C.,
on behalf of themselves and those like situ-
ated,
      Plaintiffs,
and
                                                         No. 4:17-cv-00210
STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., BROWN CHIROPRACTIC,
P.C.; MARK A. KRUSE, D.C., DR. MARK A.
KRUSE, D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf of
themselves and those like situated,
      Plaintiffs,
vs.
WELLMARK, INC d/b/a WELLMARK BLUE
CROSS AND BLUE SHIELD OF IOWA, an
Iowa corporation, and WELLMARK HEALTH
PLAN OF IOWA, INC., an Iowa corporation,
      Defendants.



  Plaintiffs’ Agreement to Stay in This Court While Issue of
       Removal to MDL No. 2406 Is Before the JPML


      Plaintiffs hereby agree with Wellmark defendants’ Motion to Stay (docket item

no. 8) that matters in this Court should be stayed while the issue of removal to United

States District Court for the Northern District of Alabama, MDL No. 2406, is before the

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                                                                             EXHIBIT 8
          Case
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Judicial Panel on Multidistrict Litigation. The stay should include the Motion to Re-

mand (docket item no.7) and responses and the Motion to Intervene (Ex. KK to docket

item no. 1-1) and responses. Plaintiffs continue to maintain in this Court and before the

JPML that the federal courts do not have subject matter jurisdiction of this action.

        Dated June 28, 2017.
                                                  __/s/ Glenn L Norris___________
                                                  Glenn L. Norris AT0005907
                                                  HAWKINS & NORRIS, P.C.
                                                  2501 Grand Avenue, Suite C
                                                  Des Moines, Iowa 50312-5399
                                                  Telephone: 515-288-6532
                                                  Facsimile: 515-281-1474
                                                  Email: gnorris@2501grand.com
                                                        gnorrislaw@gmail.com

                                                  /s/ Kara M. Simons
                                                  Steven P. Wandro AT0008177
                                                  Kara M. Simons AT0009876
                                                  WANDRO & ASSOCIATES, P.C.
                                                  2501 Grand Avenue, Suite B
                                                  Des Moines, Iowa 50312
                                                  Telephone: 515-281-1475
                                                  Facsimile: 515-281-1474
                                                  Email: swandro@2501grand.com
                                                        ksimons@2501grand.com

                                                  ATTORNEYS FOR PLAINTIFFS
                                        CERTIFICATE OF SERVICE
I hereby certify I or someone acting on my behalf, on June 28, 2017, presented the foregoing document to
the Clerk of the Court for filing and uploading into the ECF system, which will send notification to the fol-
lowing ECF system participants.
Benjamin P. Roach
Hayward L. Draper
NYEMASTER GOODE, P.C.
700 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 283-3100
Facsimile: (515) 283-8045
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ATTORNEYS FOR WELLMARK
                                                      2
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ATTORNEYS FOR BCBSA


                                     __/s/ Kara M. Simons___________




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